Case 1:16-cv-08879-VSB Document 38-2 Filed 03/14/18 Page 1 of 8

EXHIBIT
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Case 1:16-cv-08879-VSB Document 38-2 Filed 03/14/18 Page 2 of 8

Page 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Civil Action No. 1:16-cv-08879-VSB
ee ee
TINA MICHELLE BRAUNSTEIN,
Plaintiff,
-against-
SAHARA PLAZA, LLC, and THE PLAZA HOTEL,
a FAIRMONT MANAGED HOTEL,

Defendants.

101 Park Avenue
New York, New York
September 7, 2017
10:41 a.m.

DEPOSITION of MARTIN MARIANO,

 

Non-Party Witness in the above-entitled
action, held at the above time and place,
taken before Cilia Civetta, a Shorthand
Reporter and Notary Public of the State of
New York, pursuant to Notice and the

Federal Rules of Civil Procedure.

* * *

 

 

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Case 1:16-cv-08879-VSB Document 38-2 Filed 03/14/18 Page 3 of 8

 

 

Page 4

MARTIN MARIANO,
having first been duly sworn by the
Notary Public, was examined and testified

MR. ROSEN: As you know, I
represent the defendant in this
matter. I believe that this deponent
falls within a common control group
and that I have attorney-client

But in the event that there's
any question about that, since we have
no conflict of interest, I'm also
appearing as counsel for the deponent.

I just wanted you to know what
my representation status is.

MR. HAESLOOP: I'm glad you

EXAMINATION BY MR. HAESLOOP:
Q. Good morning, Mr. Mariano.

Q. My name is Gordon Haesloop and
with me is my client, Tina Braunstein.
You've never met me before,

 

 

 

 

Page 5 |
M. MARIANO |

Q. But you have met Tina Braunstein

Q. You worked together, correct?

Q. What is your present address?

Page 2
1 1
2APPEARANCES: 2
3 3
4 RAISER & KENNIFF, ESQS. 4
5 Attorneys for Plaintiff 5 as follows:
6 300 Old Country Road, Suite 351 6
7 Mineola, New York 11501 7
8 BY: E. GORDON HAESLOOP, ESQ. | 8
9 | 9
|10 10
11 SILLS CUMMIS & GROSS, P.C. 11 privilege.
12 Attorneys for Defendants 12
13 One Riverfront Plaza 13
14 Newark, New Jersey 07102 14
15 BY: DAVID I, ROSEN, ESQ. 15
16 SONU RAY, ESQ. 16
17 17
18 18
19 19 clarified it.
20 20
21 ALSO PRESENT: 21
22 TINA MICHELLE BRAUNSTEIN 22 A. Good morning.
23 23
24 24
25 25
Page 3 |
1 1
2 STIPULATIONS 2 correct?
3 | 3. A. That is correct.
| 4 ITIS HEREBY STIPULATED AND AGREED, by, 4
5 and among counsel for the respective | 5 before?
6 parties hereto, that the filing, sealing 6 A. Yes,
7 and certification of the within deposition 7
8 shall be and the same are hereby waived; 8 A. Yes.
9 ITIS FURTHER STIPULATED AND AGREED 9
10 that all objections, except as to form of 10

NM NNR Re Re BS Re Re
Ne Two WMATA NBWN

 

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the question, shall be reserved to the
time of the trial;
IT 1S FURTHER STIPULATED AND AGREED
that the within deposition may be signed
before any Notary Public with the same
force and effect as if signed and sworn to

before the Court.
* * *

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A. My home address is 31-62 29th
Street, in Astoria, New York 11106.

Q. And how long have you lived
there?

A. About 25 years.

Q. Would you tell me, please, your
date of birth and place of birth?

 

A. Sure. February 19, 1957. And 1
was born in Bristol, Connecticut.

Q. And did you attend high school?

A. Yes.

Q. And where, please?

A. Bristol Eastern High School.

Q. And what year did you graduate?

A. 1975, 1think. It's been a long
time.

2 (Pages 2 - 5)

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Case 1:16-cv-08879-VSB Document 38-2 Filed 03/14/18 Page 4 of 8

 

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M. MARIANO

A. Sure.

Q. And what would their complaints
be?

A. That, you know, the servers
were, you know, aggressive maybe. Or
their complaints could be hotel related.
You know, focusing more on the cocktail
program. They wanted to be really
involved in it.

They were terrific. I did not
hire them. They were already employees of
the hotel. They had come from the
Edwardian Room, and they were really
active in creating a program for the hotel
and that had slipped away.

So they were mostly -- most of
their complaints were that. They wanted
to be more creatively involved. You know,
and you just have squabbles between
employees, which is normal.

Q. And what kind of squabbles
between employees involving the two women,
Laura and Heather, in the Champagne and
Rose bars?

Page 90 /
M. MARIANO

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Page 92

for a bar in the Palm Court and we needed
bartenders.

Q. Were those positions offered to
any of the bartenders in the Champagne or
Rose Room?

A. No.

Q. Why not?

A. Part of our agreement, which was
known as a concessionaire agreement, or
what we would say in layman terms, a |
carve-out, was that the Palm Court would
be staffed by new hires, but the hotel had
aright to hire at will without going
through the union hall or without allowing
current employees in the hotel to seek
those positions.

Q. Were those positions posted

 

Page 91
M. MARIANO

A. Impatience, waiting your turn.
That's pretty much it. They were a good
team.

Q. Did they ever complain about any
of the male bartenders?

A. No.

Q. Did the male bartenders ever
complain about Heather?

A. No.

Q. Did they ever complain about
Laura?

A. No.

Q. That is, while you were present.
I mean, while you were employed.

A. Yes. They never complained
about Laura.

Q. What about the servers in those
bars?

A. Never.

Q. Now, did you participate in the
hiring of Tina Braunstein?

A. Yes.

Q. In what manner?
A. We were opening a new concept

 

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within the hotel?
A. No.
Q. Why not?
A. Because they weren't eligible
for the jobs.
Q. And who decided eligibility?
A. The agreement between the hotel
Page 93
M. MARIANO |
and the union.
Q. Now, how many seats are in the |
Champagne Room at the bar?
A. Four. |
Q. And in the Rose?
A. Maybe twelve. |
Q. And are there tables?
A. Yes.
Q. With chairs?
A. Yes,
Q. How many tables and chairs in
each?
A. About 50, 60 seats in each room.
Q. When the Palm Court opened, it
had what kind of configuration?

A. It was a bar in the center of
the room surrounded by tables.

Q. What was the configuration of
the bar?
Tt was --
Square, rectangle?
-- oval.

How many seats at the bar?
I think there were 14, maybe 18

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24 (Pages 90 - 93)

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Case 1:16-cv-08879-VSB Document 38-2 Filed 03/14/18 Page 5 of 8

 

 

 

 

 

Page 178 Page 180
j M. MARIANO 1 M. MARIANO
| 2 points reads: Martin -- that's you, 2 A. No.
3 correct? 3 Q. Do you know, as you sit here
4 A. Correct, 4 today, if Edwin was not involved in the
5 Q.. --I followed up with Tina when 5 situation, why you took it upon yourself
6 she returned to work to explain to her the 6 to interview him as part of that report
7 JP is the general manager. How she does 7 marked Exhibit 3?
8 not know this is confusing. She has 8 <A. Because clearly Edwin was a part
9 worked with him for over six weeks now. I 9 of the situation. Just because she didn't
10 further explained that Luigi is a union 10 note that in her e-mail doesn't mean he
11 delegate and he was asked by Edmund to |11 wasn't a part of it.
12 witness and arbitrate the situation. I 12 So I'm going to make an
13 told her I was investigating the incident 13 assumption that in speaking with Edmund,
14 and we needed to speak to everyone 14 he told me that Edwin was a witness. So |
15 involved. 15 spoke to Edwin, because I do a thorough
16 A. Mm-hmm. 16 investigation and I speak to everybody.
17 MR. ROSEN: You have to answer 17. Q.. Well, did you speak to Edwin
18 him yes orno. You can't say mm-hmm. 18 about what he witnessed?
19 Q. Did you write that? 19 A. Yes.
|20 A. Yes. 20 Q. Ispoke to Edwin, He confirmed
21 Q. But it doesn't indicate anywhere | 21 that Tina was aggressive, bossy, used foul
22 in the memo identified as Plaintiff's 3 22 language. He said she made a comment
23 that you informed her of what Edmund said 23 about getting an attorney. He was very
24 and as to whether she had any response. 24 concerned and claimed she's not been
25 A. I think it's implied that I 25 getting along with the other staff. He
Page 179 Page 181
1 M. MARIANO 1 M. MARIANO
2 followed up with Tina. So I'm certain | 2 asked to confidential because he doesn't
| 3 would have shared that information with | 3 want problems with her.
4 her. 4 Did he describe to you what |
5 QQ. But it's not contained in the 5 problems he thought he might have?
6 memo? 6 A. Yes.
7 A. Not inthis memo, no. 7 QQ. What problems?
8 Q. Did that memo go to HR? 8 A. That she was aggressive with him
9 A. Idon't know who it went to. 9 and Roberto and that she was a bully, and
10 Q. Do you recall sending it to HR? 10 that she would never help them in the
11 A. No. 11 service bar. They felt that she would set
12 QQ. Ifit had been sent to HR, would 12 them up for failure, wasn't supportive.
13 it be something in the HR file? 13 The ladies would wait for
114 A. Idon't know. I'm not the 14 cocktails all the time and she just would
15 director of HR. I don't know. 15 stay at her station in the bar, talking to
16 Q. The bottom page says, I spoke to 16 customers in the bar, and wouldn't help.
17 Edwin. 17. Q._ Is that recorded anywhere in the
18 Now, was Edwin involved in this 18 memo?
19 situation? 19 A. No. That's my recollection of
20 (Witness reviews document.) 20 what was going on at the time.
21 A. Idon't know. 21 QQ. And what else do you recollect
22 Q. Well, in Tina's e-mail, which is 22 that she told you?
23 No. 2, does she refer in any way to Edwin 23 MR. ROSEN: Are you asking about
24 being present? 24 — she told him --
25 MR. HAESLOOP: Tina. |

25

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(Witness reviews document.)

 

46 (Pages 178 - 181)

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Case 1:16-cv-08879-VSB Document 38-2 Filed 03/14/18 Page 6 of 8

Page 238
M. MARIANO

benefits manager. So just for future
e-mail reference, that she should be
copying Evan Hunt, who was the more
appropriate person to handle her
situation.

Q. And that explains 9; that
explained why you sent the e-mail to Evan
Hunt, Exhibit 10?

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Page 240
M. MARIANO
pattern of repeated concerns that she
wasn't getting along with her coworkers,
always acting professionally.
After my repeated receipt of
e-mails and offering to meet with Tina and
having candid conversations with Tina, I
didn't feel that Tina was taking ownership
to do any kind of self-reflection to try

 

 

 

Page 241

 

10 <A. Correct. So in Exhibit 10, 10 to change any of the issues that were a
11 which is dated January 25, I remind Evan | 11 concern.
12 that I met with Tina; that we had a very 12 There was never a concern with
13 candid conversation about her performance 13 the technical aspects of her job or her
14 review on January 15. 14 knowledge. That's a given. But it just
115 And in that meeting, I reminded 15 began to escalate that the bartenders
16 her that the review is a snapshot; and 16 within themselves felt that Tina was a
17 even though she was upset with the 17 bully. That she wasn't doing her share of
18 comments that she did not meet the 18 the work.
| 19 expectations, that I felt it was my 19 The cocktail servers felt she
20 responsibility to have a candid 20 was negligent in helping out whoever was
21 conversation with her and really let her 21 on the service bar. They weren't getting
22 know what the large concerns were, as I 22 along with her as well. I felt I did
23 understood them. 23 everything I could to try to help. I felt
24 Q. Understood. But why did you 24 Tina and I had a really good working
25 send that e-mail to Mr. Hunt? 25 relationship, and I felt that I was always
Page 239
1 M. MARIANO 1 M. MARIANO
2 (Witness reviews document.) 2 open to her and that we could discuss
3. A. Because on January 12 I offered 3 things candidly and professionally amongst
4 to meet with Tina. And in the e-mail I 4 each other.
5 sent to Evan Hunt, I'm letting him know 5 And so I was really
6 that I met with Tina, that I followed up. 6 disappointed. I couldn't get her to move
7 Q. Thank you. 7 toa point where they could say, you know,
8 You were asked a question 8 she's going to make it. And I think from
9 whether you were present when Ms, 9 October to February, that's almost five
10 Braunstein was informed that she was being 10 months of looking at an employee during a
11 terminated, and I believe your answer was 11 probationary period, where I'm not seeing
12 no, Am I correct? 12 any willingness to change.
13. A. Yes. 13 In fact, in one of these e-mails
14. Q. Were you part of the decision to 14 that you presented to me, she brags to me
15 terminate Ms. Braunstein's employment? 15 about being a tough person from New York,
16 A. Yes. 16 and she seems to be very proud of the fact
17. Q. Are you familiar with the 17 that she's confrontational with people and
18 reasons why Ms. Braunstein's employment 18 that's who she is and that we have to
19 was terminated? 19 accept that. And ina luxury hotel, where
20 A. Yes. 20 respect amongst employees is important,
21 Q. Can you tell us what those 21 she didn't have it in her nature to want
22 reasons were? 22 to change.
23. A. That since her hire date of 23 So at that point I didn't see
24 October and the opening of the Palm Court 24 any further need to continue to coach and
25

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in November, mid-November, she had a

counsel her, either on the record or |

61 (Pages 238 - 241)

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Case 1:16-cv-08879-VSB Document 38-2 Filed 03/14/18 Page 7 of 8

 

 

 

 

 

 

 

Page 242 Page 244 |
M. MARIANO 1 M. MARIANO
through written documentation. And I felt 2 Q. Now, you said there were female |
it was in the hotel's best interest to 3 cocktail servers. Do you recall the names
exercise their right to end a relationship 4 of any of those servers?
with an employee during her probationary 5 A. I don't recall the name of --
period for failing to meet the standards 6 there was one server who's the delegate.
and expectations of the hotel. 7 Ican't remember her name. She had dark
Q. Okay. Now, you mentioned a 8 hair. We allowed her to wear flat shoes
number of different people who were 9 because her feet hurt her. I remember
female, who expressed complaints to you 10 that. And her uniform itched her and we
about Ms. Braunstein, correct? 11 made some adjustments to it. But I can't
A. Yes. 12 recali her name. |
Q. Now, you were asked whether you 13. Q. How many servers do you recall
had reduced those to writing, and } 14 complaining about Ms. Braunstein? |
believe that you said no. 15 A. About four.
But can you tell us, to the best 16 Q. Were they all female?
of your memory, what did you understand or |17 A. Yes.
what do you recall the substance of Ms. 18 Q. Now, there was another woman
Merlo's complaint about Ms. Braunstein to 19 after the cocktail servers and before the
be? That would be Carolyn Merlo. 20 wife of, I think, one of the owners. And
A. Carolyn's complaint was more 21 I didn't write that name down.
vague. It's sort of like, I'm not on that 22 +A. Yes.
shift; it's not really my oversight to 23. Q. Do you know who I'm referring
worry about, but I'm glad I don't have to 24 to?
deal with it, because she felt Tina was a 25 A. Yes.
Page 243 Page 245
M. MARIANO 1 M. MARIANO |
problem. 2 Q. What's that person's name?
Q. And what was the position that 3. A. Angelina Policrasti.
Carolyn held there? 4 QQ. And who was she?
A. Carolyn was a manager. 5 A. She was brought in by Geoffrey
Q. Now, I believe that you said 6 Zakarian as a wine and beverage
that you also received complaints from the 7 consultant. She assisted us on all the
cocktail servers. You already recited 8 bars with developing the wine list, and
some of the complaints. 9 she did extensive training.
Were there any other complaints 110 We actually kept her on as an
by the servers that you can recall them | 11 additional support because she did all of
making about Ms. Braunstein other than not —_| 12. the service training for all of the
helping out? 13 bartenders and the servers, along with
A. Just witnessing certain things 14 Brian, who was primarily cocktail driven,
and just her, you know, being 15 but she was wine driven and service
uncooperative. They felt Tina was jealous 16 driven.
of them or didn't understand why she would 17. Q.. And what do you recall the |
be unwilling to help. | 18 substance was of her complaints about Ms. |
Whenever there's a line at the 19 Braunstein?
bar, why with three bartenders she 20 A. Nothing specific except a
wouldn't jump in and assist the service 21 recommendation to let her go and, like,
bartenders. She would often, basically, 22 weekly. She's like, you need to let her
let them drown, which they felt impacted 23 go, you need to let her go. And I didn't
their ability to service tables. Just no 24 think that was fair because | think
vested interest in their success. 25 everyone has an opportunity to change or |

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62 (Pages 242 - 245)

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Case 1:16-cv-08879-VSB Document 38-2 Filed 03/14/18 Page 8 of 8

Page 246
M. MARIANO
get better and I invested a lot of time.

And like I said, Tina and I had
a good relationship. She raised some
valid issues that we were able to take
care of. She raised her disappointments,
and we were able to talk them through. So
I thought I could make some headway.

Q. Did Angelina ever give any
indication as to why she thought Ms.
Braunstein should be terminated?

A. There were -- I think there were
concerns for me. I think she felt that I
wasn't reacting, and she was hearing from
the Zakarian group that I was being,
perhaps, ineffective.

And I needed them to understand
that this is not an independent restaurant
where you get to just say, you know, I
don't like you and you have to leave
today. This is a different environment.
This is The Plaza. We have to follow a
process, and everyone deserves time to
adjust.

It was a challenging time of

 

Page 247
M. MARIANO
performance. So there were going to
be challenging times that we just kind of
had to work through and talk through. But
at the end of the day, I think they just
felt that Tina wasn't really making an
effort.

Q. Okay. The wife of whom? |
didn't write the name down.

A. Geoffrey Zakarian, who was the
culinary chef. His wife was sort of a
self-appointed expert. I think she's a
vested interest in his group. She's a
partner of his. And she would raise, you
know, concerns.

Q. Such as?

A. Just things that she would hear
from the staff or observations. I will
say that at the bar, there weren't
concerns at the bar with the customers at
the bar. It was how it was affecting the
floor.

Q. Can you explain that more fully?

A. Yes, So Tina would have

 

Page 248
M. MARIANO
good care of them. That's, you know,
money that goes directly into her pocket.
She was able to make very good
5 engagement with them, and I think she felt
6 she did a very good job there and | would
7 agree.
8 QQ. But what was the wife of
9 Zakarian's concerns?
10 A. Just what was happening on the
11 floor. There was another person they
12 involved. Her name is Monica Saperstein.
13 She was brought on as a restaurant
14 operational consultant. She had done some
15 work for Geoffrey before. And she
16 assisted us with everything, on how the
17 hostess stand flowed, how the reservations
| 18 flowed, how the bar flowed, the flow of
| 19 service on the floor. And she would make
20 some observations that she was concerned
21 for me, that I needed to react and end the
22 relationship.

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23. Q. With whom?
|24 A. With Tina.
25  Q. Do you recall anything else that
Page 249
1 M. MARIANO

2 she said to you about Ms. Braunstein?

3. A. I'mnot sure I understand the

4 question.

5 QQ. You just said that she was

6 concerned about you and that you needed to
7 end the relationship with Tina.
8 So my question to you was, do
9 you recall anything else that she may have
10 said concerning the reasons why she felt
11 you needed to end that relationship?
12. <A. She had told me that she felt
13 that Tina was familiar; that she may have
14 recognized her.
15. QQ. What does that mean?
16 A. That she said, I know her from
17 somewhere or I worked with her somewhere
18 before. And then she said something
19 about, like, I know her from someplace.
20 MR. ROSEN: Okay. I have no
21 further questions.
22 BY MR. HAESLOOP:
23 Q._ Did she ever tell you where she

 

 

24 worked with Tina before?
customers at the bar. She would take very 25 A. No.

63 (Pages 246 - 249)

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